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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - x

UNITED STATES OF AMERICA            :        ORDER

    - v. -                          :
                                             15 Cr. 95 (AJN)
NICO BURRELL et al.,
                                    :

                 Defendants.        :

- - - - - - - - - - - - - - - - x

          Upon the application of the United States of America,

Preet Bharara, United States Attorney for the Southern District

of New York, by and through Assistant United States Attorney

Rachel Maimin, of counsel, for an order precluding the

dissemination of Enterprise Letters in this case:

    1.    With respect to the Initial Enterprise Letter to be

disclosed by the Government on September 27, 2016 and any

Supplemental Enterprise Letters (together, the “Enterprise

Letters”), the Enterprise Letters:

          a.     Shall be used by each defendant and his counsel

               of record only for purposes of the defense of this

               case;

          b.     Shall be maintained in a safe and secure manner

               solely by each defendant’s counsel of record; shall

               not be possessed by the defendant, except in the
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          presence of defendant’s counsel or any Designated

          Person as defined below; and shall not be disclosed

          in any form by the defendant or his counsel except

          as set forth in paragraph 1(c) below;

     c.     May be disclosed by defense counsel only to the

          following persons (hereinafter “Designated

          Persons”):

           i.      Investigative, secretarial, clerical, and

                 paralegal student personnel employed full-time

                 or part-time by each defendant's counsel of

                 record;

          ii.      independent expert witnesses, mitigation

                 specialists, investigators, or advisors retained

                 by each defendant's counsel of record in

                 connection with this action;

          iii.     other witnesses testifying to the contents of

                 the document;

          iv.      the parents or legal guardians of the

                 defendants (the “Parents”), except the Parents

                 may not be permitted to review the Enterprise

                 Letters except in the presence of counsel; and




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               v.     such other persons as hereafter may be

                    authorized by the Government or by the Court

                    upon motion by any defendant.

     2.   The defendant and his counsel of record shall provide a

copy of this Order to any Designated Persons to whom they

disclose the Enterprise Letters pursuant to paragraph 1(c).

Prior to disclosure of the Enterprise Letters to any Designated

Person, pursuant to paragraph 1(c), any such Designated Person

shall agree to be subject to the terms of this Order.

     3.   The Enterprise Letters shall not be posted or caused

to be posted by the defendants or any other person on the

Internet, including any social media website.

     4.   The provisions of this Order shall not be construed as

preventing the disclosure of the Enterprise Letters or material

contained therein in any motion, hearing, trial, or sentencing

proceeding held in connection with the above-referenced action or

to any District Judge or Magistrate Judge of this Court for

purposes of the above-referenced action. However, all such

filings shall comply with the provisions of Rule 49.1 of the

Federal Rules of Criminal Procedure.

     5.   The provisions of this Order shall not be construed as

preventing the disclosure or discussion of the Enterprise




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Letters or the material herein among defense counsel of record

on this case.

    6.    The provisions of this Order shall not be construed as

preventing Emma M. Greenwood, Esq., the Court-appointed

Coordinating Discovery Attorney in this case, or her employees

from reviewing the Enterprise Letters or discussing them with

defense counsel.   Ms. Greenwood shall instruct her employees

that they are bound by this Order.



Dated:    New York, New York
          _______________, 2016


                                  __________________________________
                                  THE HONORABLE ALISON J. NATHAN
                                  UNITED STATES DISTRICT JUDGE




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